January 26, 2O\S

 

 

Dee, ce of Federal PobWe Sekeadec
SOW North Elm sirek  sucae 410
Greens bore NG 2FTHO\

 

i PA cont ack “yj your cfthice Tp requesY ASS) SPARE

with Ae pears ack \y agp: ch Premeadimest FQ2 , rugs
Manus Twas. My drug Ca.$e, [ Decwe w AS cry aa-d | wes
andied GA Tee MV ddke District ce Nacth Cargtind .

To Weiexe “Pex eke y° ble fer a reduction of sentence,
GAa&  f@ quest your ASS Stance VA fewieu “y my Case

foc ekk aos Ki ky ~ tw cuttestly Wtarces ahed at

Foi eleven ool To eve manbened a clean di Sigh Rary
fecocad, pre ets wey wor ee ; and  Fertlowee Mwroug\n ah

saa

edo ca®en prograrews pe OL nope ARS AS of helo re

y had tan Bee hy ne e edu CAA GA 8K oi pe EAR EM ae rowed
mtn Me Cour oad US. Behn Mey on a Rea Faydralh \e
gerterce LL a eaih your Teseonse oad or iagtwohons

For (re Pe Follow. AL Anaalt you iA ad VEACE .

oasis SERREa cas hilo

Setatan Cacdthe- Camo, # 2348 1-00 F

SECARAN CASTUe- CA MOOS
Lia ASAE L- O34

FOL €MCTON

eG. Bex 16

Ligwen, OF HUN SG

Case 1:13-cr-00129-CCE Document 59 Filed 02/23/15 Page 1 of 2
 

Re @uest and Consent to Re PresentTATION
by tre Ny ddle Districh 0€ Noctw Carcliva
Fedec el De¢ ended S OFer.ce.

L requ esr ond éonsentd *o FepregentaXs en oy the
Middie Dighnch of Nortx Caratiu& Federal Defenders -
Cece For & fe du cAnaslh oe my Geavence urder

Aweadmern’ FRR +2 Me Feber ok Seaheace “g bua climes.
Lo oosderstand Hig fe preseataton 16 fer The
mite d pYUrPoSe of See. es 1 eduction *b my
Serkence, and War re Siddle Bistich cf
Not CareinA Feheral Defenders o€ice doce Not
feoresend me on any oer Caum Lo am pours ag

Ot phan te pursue,

LY RS /i5 | SERRE CASIO

SERREIM caciiite- Lame Ds + 2B497- 09>

SERAKAN CAS+iilo- CAMEOS
Ree tt: AGUTEA- OSF

FCI EIKTON
P.O. GoX 10
Lisbon, OH 44443

Case 1:13-cr-00129-CCE Document 59 Filed 02/23/15 Pane 2? of 2
